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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                             Case No.: 1:07-CR-018-SPM/AK

BUBBA JACK HURLEY ,

           Defendant.
________________________________/

  ORDER OF REFERENCE FOR PLEA PROCEEDINGS BEFORE A UNITED
                 STATES MAGISTRATE JUDGE

      The Court has been informed that the Defendant BUBBA JACK HURLEY

wishes to enter a guilty plea and consents to having the guilty plea proceedings

conducted by a United States Magistrate Judge. Pursuant to the provisions of 28

U.S.C. § 636(b)(3) and N.D. Fla. Loc. R. 72.3, it is hereby

      ORDERED AND ADJUDGED that the above-captioned criminal case be

referred to the Honorable Allan Kornblum, United States Magistrate Judge, to

conduct all of the proceedings required by Federal Criminal Procedure Rule 11

incident to a guilty plea and to make a recommendation to the District Judge

concerning acceptance or rejection of the guilty plea.

      DONE AND ORDERED this thirtieth day of November, 2007.




                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
